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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 Wendy Horton,                       )
                                     )
             Plaintiff,              )
                                     )
        vs.                          ) Case No.:1:17-cv-3035-TWP-MPB
                                     )
 Harris & Harris, Ltd.,              )
                                     )
             Defendant.              )
 ____________________________________)_____________________________________


                            ORDER OF DISMISSAL WITH PREJUDICE

        Pursuant to the Joint Stipulation of Dismissal with Prejudice filed by the Parties in this

 cause, this cause of action is hereby dismissed with prejudice, with each party to bear their own

 attorney fees and costs.




  12/19/2017
 _____________                                       _______________________________
 Date                                                Judge
                                                     United States District Court
                                                     Southern District of Indiana



 ECF notification:

 Copies to electronically registered counsel of record.
